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UNITED STATES BANKRUPTCY COURT MAY .0 8 2017
FOR THE DISTRICT OF KANSAS U S CLERK
WICHITA DIVISION By ` `Ba"kmptcy C°Ugeputy
____________
In Re: ) Chapter 7
)
PHILIP EUGENE HARDEN, ) Case No. 17-10732
)
Debtor. )

 

NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
BY PLATINUM RAPID FUNDING GROUP LTD.

PLEASE TAKE NOTICE that pursuant to Rule ZOOZ(g) of the Federal Rules of
Bankruptcy Procedure, Platinum Rapid Funding Group Ltd. (“Platinurn”), a party in interest in
the referenced bankruptcy proceeding, requests that all notices given or required to be given and
all papers served or required to be served in this case also be provided, electronically or via
United States First Class Mail, to Platinum via the address below:

Platinum Rapid Funding Group Ltd.
ATTN: John L. Overland, Jr., Esq.
348 RXR Plaza

Uniondale, New York 11556
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Dated: Uniondale, New York
May 4, 2017

/ZV
WL. Overland, Jr., Esq.
ssistant General Counsel
Platinum Rapid Funding Group Ltd.

348 RXR Plaza
Uniondale, New York 11556

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CERTIFICATE OF SERVICE
l hereby certify that on May 4, 2017, copies of the foregoing notice of appearance and
request for service Was sent to the parties below:

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